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B23 (Official Form 23) (12/10)
                                                          United States Bankruptcy Court
                                                                 Western District of Missouri
 In re     Joshua Ronald Yates                                                                  Case No.   12-62216
                                                                             Debtor(s)          Chapter    7



         DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
                 COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT

         Every individual debtor in a chapter 7, chapter 11 in which § 1141(d)(3) applies, or chapter 13 case must file
this certification. If a joint petition is filed, each spouse must complete and file a separate certification. Complete one of
the following statements and file by the deadline stated below:

           I, Joshua Ronald Yates , the debtor in the above-styled case, hereby certify that on 3/8/2013 , I completed an
instructional course in personal financial management provided by Sage Personal Finance , an approved personal
financial management provider.

           Certificate No. (if any): 05781-MOW-DE-020449292 .

           I,      , the debtor in the above-styled case, hereby certify that no personal financial management course is
required because of [Check the appropriate box.]:
               Incapacity or disability, as defined in 11 U.S.C.§ 109(h);
               Active military duty in a military combat zone; or
               Residence in a district in which the United States trustee (or bankruptcy administrator) has determined that
the approved instructional courses are not adequate at this time to serve the additional individuals who would otherwise
be required to complete such courses.

Signature of Debtor: /s/ Joshua Ronald Yates
                                Joshua Ronald Yates

Date:       March 11, 2013




Instructions: Use this form only to certify whether you completed a course in personal financial management. (Fed. R.
Bankr. P. 1007(b)(7).) Do NOT use this form to file the certificate given to you by your prepetition credit counseling
provider and do NOT include with the petition when filing your case.
Filing Deadlines: In a chapter 7 case, file within 60 days of the first date set for the meeting of creditors under § 341 of
the Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the debtor as required by the
plan or the filing of a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Code. (See Fed. R. Bankr. P.
1007(c).)




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                                             Certificate Number: 05781-MOW-DE-020449292
                                             Bankruptcy Case Number: 12-62216


                                                           05781-MOW-DE-020449292




              CERTIFICATE OF DEBTOR EDUCATION

 I CERTIFY that on March 8, 2013, at 12:05 o'clock PM PST, Joshua Yates
 completed a course on personal financial management given by internet by Sage
 Personal Finance, a provider approved pursuant to 11 U.S.C. § 111 to provide an
 instructional course concerning personal financial management in the Western
 District of Missouri.




 Date:   March 8, 2013                       By:      /s/Allison M Geving


                                             Name: Allison M Geving


                                             Title:   President
